            Case 2:12-cv-01282-JLR Document 71 Filed 04/26/13 Page 1 of 24




 1                                                       THE HONORABLE JAMES L. ROBART

 2

 3

 4

 5

 6                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF WASHINGTON
 7                                    AT SEATTLE
 8
 9   UNITED STATES OF AMERICA
                                                            CASE NO. C12-1282JLR
10                       Plaintiff,
                                                            THE SEATTLE POLICE
11         vs.                                              MONITOR’S FIRST
                                                            SEMIANNUAL REPORT
12   CITY OF SEATTLE

13                       Defendant.

14

15

16

17         The Seattle Police Monitor’s First Semiannual Report is attached.

18

19

20

21

22

23

24

25


                                                                               DORSEY & WHITNEY LLP
                                                                                      COLUMBIA CENTER
     THE SEATTLE POLICE MONITOR’S FIRST SEMIANNUAL REPORT                       701 FIFTH AVENUE, SUITE 6100
                                                                                  SEATTLE, WA 98104-7043
     Case No. C12-1282JLR                                                           PHONE: (206) 903-8800
                                                                                     FAX: (206) 903-8820
Case 2:12-cv-01282-JLR Document 71 Filed 04/26/13 Page 2 of 24




 THE SEATTLE POLICE MONITOR

               FIRST SEMIANNUAL REPORT




                          April 2013
             Case 2:12-cv-01282-JLR Document 71 Filed 04/26/13 Page 3 of 24




Table of Contents

Introduction ................................................................................................................................................ 1

   Milestones ............................................................................................................................................... 4

   Challenges ............................................................................................................................................... 5

   Accountability in the review of use of force ........................................................................................... 6

   Crisis Intervention ................................................................................................................................. 12

   Accountability at Precinct Level ............................................................................................................ 15

   OPA Investigations ................................................................................................................................ 16

   Stops and Detention and Biased Based Policing ................................................................................... 17

   Future Activities……………………………………………………………………………………………………………………………….17

Conclusion ................................................................................................................................................ 19
        Case 2:12-cv-01282-JLR Document 71 Filed 04/26/13 Page 4 of 24




                            THE SEATTLE POLICE MONITOR

                                FIRST SEMIANNUAL REPORT

                                          APRIL 2013

Introduction

Pursuant to ¶ 196 of the court-ordered Settlement Agreement (SA), the Monitor submits this
First Semiannual Report. The Monitor commends the City of Seattle and the Seattle Police
Department (SPD or Department) for the progress that has been made—and there has been
considerable progress—but cautions that compliance has only begun and that full and
effective compliance remains for the future. We acknowledge Chief Diaz for his many years of
service and devotion to the SPD and welcome interim Chief Jim Pugel. We look forward to
working with him.

Over these last six months, the Monitor and his team (collectively, the Monitor) have come to
know Seattle and have established good relationships with City Council, the Mayor’s Office,
the City Attorney’s Office, and the Department of Justice (DOJ). The Monitor has met with
City Council and its members formally and informally and is grateful for their support. The
Monitor has met with Mayor McGinn in person on two occasions and had several additional
good telephone conversations to dispel any prior misconceptions on either side and to lay the
groundwork for increased communication and collaboration with him and his office. The
Monitor has met with City Attorney Peter Holmes on several occasions and has high respect
for his integrity and intelligence and that of his staff. The same is true of the representatives
from the Department of Justice and United States Attorney Jenny Durkan and her staff.

We have met with the Chief of Police, the Deputy and Assistant Chiefs, several captains, and
other department heads and officers on several occasions, receiving detailed presentations
about the workings of the SPD and its efforts to begin compliance with the Settlement
Agreement. We have had several useful and productive meetings with Chief John Diaz,
interim Chief Jim Pugel and Assistant Chief Michael Sanford, former Compliance Coordinator
Steve Brown, and his successor, Bob Scales. Chief Sanford and Bob Scales recently visited Los
Angeles and met with the Los Angeles Police Department (LAPD), the Monitor and Pat
Gannon, and Connie Rice, co -director of the Advancement Project in Los Angeles. Our
conversations, both formal and informal, were productive and elevated the level of mutual
respect.

We have begun to be trained to use SPD computers and databases and have become
acquainted with the Department’s data systems, with particular attention to Versadex and the
AIM system used for use of force tracking, the early identification system, and the Office of
Police Accountability (OPA)’s complaint tracking systems. We have remote computer access
to certain non-personnel files and are seeking wider remote access to files and data. We have

                                                                                                1
       Case 2:12-cv-01282-JLR Document 71 Filed 04/26/13 Page 5 of 24




been given key cards providing access to SPD Headquarters and some of the precincts on a
24/7 basis.

As will be developed more over the next six months, we have the sense that SPD record
keeping, data storage, and data retrieval are in need of profound overhaul and rethinking.
There is a substantial amount of data that is not captured but needs to be. There is data in
separate databases that do not communicate with each other. Information exists in silos and
is not available to those with a need to know. There is insufficient data on officer
performance to permit robust risk management at the precinct level and department-wide.

Failure to correct these problems will substantially, if not fatally, prevent the SPD from
reaching full and effective compliance. We do not take a position at this time on how SPD’s
data systems should be replaced or prescribe a particular system, but will follow its
development with great interest, as described in the Monitoring Plan. We recently had the
opportunity to describe to the SPD and the City the Monitor’s hopes for the information
technology system. It will be in Seattle’s interest to fund the project adequately, and the
Monitor and others will lend support efforts to secure federal and private funding in addition.

The Monitor has met with more than 100 individuals and community organizations, including
the Downtown Seattle Association, The NW Immigrant Rights Project, El Centro de la Raza, the
Defender Association, MEDC, the Downtown Emergency Services Center, the ACLU, the
NAACP, the Asian Counseling & Referral Service, the Council on American-Islamic Relations,
and the Native American Advisory Council. Glenn Harris, Ronald Ward, and Ian Warner have
done an excellent job arranging and facilitating many of those meetings. Early on, and again
recently, we met with the Seattle Human Rights Commission and continue to receive input
and insight from its members. Some of those community meetings have taken place out in the
community, particularly in the South and West precincts. The Monitoring Team has also met
with members of the newly formed Community Police Commission (CPC) and made a
presentation at the Commission’s retreat on April 2. Since then, the Monitoring Team has
attended the regular meetings of the CPC. The discourse is on a high level and all the
members of the CPC are respectful of the views of others and strive to achieve consensus.

The Monitor has received guidance from the Hon. James L. Robart, the federal judge
overseeing the implementation of the court-ordered SA. The Judge and the Monitor are in
consistent contact. The Court has been active and involved in the judicial role in the ongoing
litigation and keeps himself abreast of all developments.

The Monitor drafted a Monitoring Plan, negotiated over it at great length with the parties, and
submitted it to the Court. Both parties approved the Plan, which the Court approved on
March 12, 2013.

The Monitoring Team met twice with the union representing Seattle police officers and the
union representing lieutenants and captains. Thus far, the unions have failed to play a
                                                                                                 2
         Case 2:12-cv-01282-JLR Document 71 Filed 04/26/13 Page 6 of 24




constructive role in word and deed. As the court emphasized on March 12, the road ahead is
toward full and effective compliance with the Settlement Agreement. It is hoped that the
unions will join in that effort.

The Deputy Monitor, Peter Ehrlichman, the Assistant Monitor, Ronald Ward, and the rest of
the Monitoring Team have been instrumental in the successes to date. The Monitor and the
team members from Los Angeles have been in Seattle for three or four days almost every
other week. The Seattle team members, of course, provide constant coverage.

The Monitor has been careful and prudent in expenditures and at each turn has endeavored
to keep costs down.1 The Monitor is well within the budget for the first year that was
approved by both parties and the Court.

Each member of the Monitoring Team has contributed substantial time pro bono to the
project above and beyond what has actually been billed. Dorsey & Whitney, LLP, Peter
Ehrlichman’s law firm, bills out only some of Peter’s hours of service as Deputy Monitor and
those hours are billed at less than one half of Peter’s usual hourly rate. Dorsey & Whitney has
contributed hundreds of pro bono hours on this project, in addition to donating meeting
space for numerous meetings with City and DOJ officials, and with the community leaders
mentioned above.

This Report will first describe some important milestones from the last six months as well as
challenges confronting the parties and the Monitor. Next, this Report will cover four
important areas where the Monitor and the Monitoring Team have devoted substantial effort:
Accountability in the review of use of force; OPA investigations; accountability at the precinct
level, and the SPD’s Crisis Intervention Team (CIT) program. This Report will also describe
progress to date for two draft SPD policies— Biased Policing Policy and Stops and Detentions
Policy. The Monitoring Plan adopts the language of Paragraph 196 of the Settlement
Agreement, which indicates several additional topics that will be addressed in the Monitoring
Reports, including outcome assessments and a listing of which Settlement Agreement
requirements have been fully implemented. At this stage, it is too premature to address these
topics, but they will be addressed in future Monitoring Reports.




1
  The Los Angeles contingent takes an approximately eighteen percent smaller per diem than the federal rate for
people traveling to the metropolitan area of Seattle. Instead of taking several hotel rooms for each stay, four of
the Los Angeles team members, including the Monitor, have rented an apartment, the monthly cost of which is
decidedly lower than what hotel charges would be. Each person on the Monitoring Team bills at rates
significantly lower than the prevailing rate for equivalent persons in the community.

                                                                                                                 3
       Case 2:12-cv-01282-JLR Document 71 Filed 04/26/13 Page 7 of 24




Milestones

The Monitor requested the City to outline what it considered the important milestones and
other results achieved since the appointment of the Monitor. Set forth below is a summary of
the City’s response. The following are the important milestones since the appointment of the
Monitor.

 A. Settlement Agreement Milestones
     1.     Appointment of the Monitor.
      2.    Engaging Former Compliance Coordinator, ret. Captain Steve Brown, and
            current Compliance Coordinator, Bob Scales.
     3.     Providing the SPD Statement of Priorities and Matrix (Dec. 31, 2012).
      4.    Status Conference before the Hon. James Robart and approval of the
            Monitoring Plan (March 12, 2013).
      5.    Appointment and Confirmation of the CPC by City Council, including funding
            for three staffers. (March 18, 2013).

 B. Policies, Training and Reporting
     1.       As of March 30, 2013, the City has provided three draft policies and one
              manual according to schedule. Early drafts of policies were provided ahead of
              the delivery dates in some cases.
     2.       Initial CIT coverage analysis was completed. CIT Training is in progress.

 C. Access for Monitoring Team
     1.      Building access, parking, and office space have been provided to the
             Monitoring Team.
     2.      Access to SPD personnel, data, and documents has been provided in many
             instances.
     3.      Four remote access laptops were set up.
     4.      Access provided to many SPD data systems.
     5.      Limited participation provided to Use of Force Review Boards, Firearms Review
             Boards, and Chief’s Briefings.
     6.      Documents responsive to DOJ’s Forth Request for Documents, issued October
             30, 2012, and also requested by the monitor, have been mostly produced.
             Some of those document requests are ongoing. The parties are working to
             make this process more collaborative.

 D. Staffing
      1.     The Office of the Compliance Coordinator has hired an administrative assistant

                                                                                              4
        Case 2:12-cv-01282-JLR Document 71 Filed 04/26/13 Page 8 of 24




               and a strategic advisor and is hiring a senior management systems analyst.
       2.      The SPD Professional Standards Bureau was formed.
       3.      City Council approved funding and positions for seven additional SPD positions
               dedicated to the Settlement Agreement and MOU. Three CPC positions were
               funded.

The Monitor acknowledges and appreciates these milestones. Nonetheless, these first
six months of monitoring have also presented challenges.

Challenges

The initial months since appointment of the Monitor have seen the parties explore,
debate, and test:

              The limits, scope, and sweep of the Settlement Agreement; 
              The degree to which negotiation and collaboration between the parties
               themselves and with the Monitor is possible; 
             The intentions of Judge Robart regarding enforcement of the SA; 
              Who in the City of Seattle is empowered to act in the City’s name. 

These debates should now be settled. As Judge Robart made clear, the Court will give a
plain meaning interpretation to the Settlement Agreement and the Monitoring Plan. The
SA will not be splintered into myriad tiny tasks while losing sight of the ultimate goal: top to
bottom reform of the Seattle Police Department into an organization that effectively fights
crime and enforces the laws by listening to and working in constant consultation with
Seattle’s diverse communities; actively and persistently dealing with the risk of
unconstitutional conduct by sworn personnel, including excessive use of force and
discriminatory policing; and demonstrating at all times its abhorrence of excessive force
and race-based policing and its unwillingness to tolerate those who engage in it. It is also
necessary that the community rise to its responsibilities to cooperate with the SPD in
solving crimes and maintaining order.

The SPD has taken its first steps down the road to compliance. Yet, it still does not speak
with one voice. In-fighting up and down the command staff level has been a concern. The
SPD does not appear settled on a unified vision of what it is to become. We are hopeful that
interim Chief Pugel will articulate that vision by embracing the Settlement Agreement.

A part of the SPD, mostly but not exclusively within the union- organized ranks, remains “dug
in” and continues to resist the force and implications of the Settlement Agreement. Part of
the cause of this resistance may be because the Settlement Agreement has not been
adequately explained to captains, lieutenants, sergeants, and rank-and-file officers. The
Monitor and the Monitoring Team have been misidentified as being part of the Department of
Justice to officers at several roll calls.
                                                                                                   5
        Case 2:12-cv-01282-JLR Document 71 Filed 04/26/13 Page 9 of 24




Stories and myths have been fed to rank-and-file officers without their having received
counterbalancing messages from the command staff to understand reform as being in the
long-term best interests of all officers and the Department. The time has come for the all
persons in the SPD, and particularly those with influence and authority, to move past their
disagreements with DOJ and to get on with reform. Over the next six months, the Monitor
will be looking for signs of improvement in these areas, including efforts by command staff to
make clear that the Settlement Agreement is here to stay and is not going to be fed to the
shredder; by captains to make clear that their units or precincts will fully implement the
provisions calling for greater responsibility and accountability for managing the risk of police
misconduct; by sergeants in their obligation to make certain their squads are policing in a
constitutional manner, and by the rank-and-file, understanding that a new protocol is being
developed and that certain of the former procedures are unacceptable.

Similarly, the disagreements at the highest level of City government also will not distract the
Monitoring Team from doing its job and holding the SPD to account to the Court. As we
noted recently in a hearing before the City Council, the City of Seattle is not just the Mayor or
the City Council or the City Attorney or the SPD. It consists of the varied and diverse Seattle
communities—racially, ethnically, geographically, economically, healthy or physically or
mentally unwell. And it is to all these communities to which the ears of the Monitor and the
Monitoring Team are particularly attuned. The Monitor and the Monitoring Team look
forward to working closely with the newly formed Community Police Commission—a primary
conduit of the community’s perception of the changes taking place.

The Monitor is vitally concerned that the SPD also be heard. The SPD has not previously faced
a sea change such as this one which creates new roles and responsibilities and accountability.
Other law enforcement agencies subject to similar consent decrees have floundered or
wasted time fighting the inevitable. We strongly do not wish this to happen here. To that
end, the Monitoring Team includes two experienced police professionals to assist the Team to
build a strong relationship with the SPD: Chief Pat Gannon and former Chief Joe Brann. Chief
Gannon was a key to the successful implementation of the consent decree in the LAPD, and
Chief Brann has served successfully as a monitor under a consent decree in Riverside,
California. They understand what it is like to implement a court-ordered decree with the DOJ
like the SA.

Accountability in the review of use of force

The following section corresponds to paragraphs 119-125 of the Settlement Agreement and
discusses SPD’s progress in coming into compliance with this portion of the Settlement
Agreement.

As set forth below, the Use of Force Review Board (UOFRB or Board) is doing a good job in
ascertaining whether the review of use of force by the chain of command comports with the
                                                                                                    6
       Case 2:12-cv-01282-JLR Document 71 Filed 04/26/13 Page 10 of 24




SA and is complete and thorough. In order to move closer to full compliance, however, it will
be necessary for the Board to have a more expansive discussion of the force itself and
alternatives. The Board is currently operating under an interim policy from 2012 and the
Board’s processes will be modified and improved once the new Use of Force policies are
adopted, according to the SPD. Part of the process improvements will include enhanced data
collection and analysis using a new e-use of force reporting system, according to the SPD. The
SPD’s goal will be to use this new data system to issue detailed reports on use of force
incidents on an ongoing basis.

The SPD generally holds weekly UOFRB meetings. These meetings have been chaired over
the past several months by interim Chief Pugel and have been led by Training Section Captain
Mike Edwards, both of whom have done admirable jobs in these settings. Consistently in
attendance are one or more sergeant or lieutenant level representatives from each of the
five precincts, a representative from Training, and most recently, one or more
representatives from CIT. In addition, representatives from Policy, the Range, and various
other departments sometimes attend and participate. Although we acknowledge that
interim Chief Pugel now has substantial additional duties, the Monitor recommends and
encourages the Chief to remain in charge of the Board so that it may continue to make the
good progress it has to date.

At each of these meetings, all recently completed use of force packets are reviewed. Interim
Chief Pugel prescreens each use of force packet, and he may send one back for more
information or refer the case to OPA before the Board reviews it. Each attendee has the
responsibility to review each packet to be discussed in advance of the meeting. At the
meeting, the representative from the precinct where the use of force at issue took place
summarizes the use of force for the group (which occurs with varying degrees of efficiency).
Captain Edwards, or, in his absence, his designee, leads the group in a general discussion
about the merits or issues raised by the use of force. At the end of the discussion, Captain
Edwards asks the questions set forth in Paragraph 123 of the Settlement Agreement:

       1.      Whether the force used is consistent with law and policy.
       2.      Whether the investigation is thorough and complete.
       3.      Whether there are considerations of tactical, equipment, or policy
               that need to be addressed.

If anyone raises any issues in response to these questions, the Board will decide if the packet
needs to be sent back for further information or clarification. If not, Captain Edwards asks
whether the Board recommends approval. After an informal vote, interim Chief Pugel will
either approve the packet or return it to the Section or Precinct for further information or to
correct technical deficiencies.

Members of the Monitoring Team (and, on occasion, DOJ) consistently have been attending
the UOFRB meetings for the past several months. At the Monitoring Team’s request after

                                                                                                  7
       Case 2:12-cv-01282-JLR Document 71 Filed 04/26/13 Page 11 of 24




attending three meetings, SPD has been providing the Monitoring Team with access to all of
use of force packets before the meetings, allowing review by the Team in advance. Initially,
Captain Edwards and interim Chief Pugel requested the Monitoring Team to attend the
meeting as silent observers but did stay after the meetings to answer any questions the
Monitoring Team might have. At the Monitor’s request, SPD has modified its position and
now allows the Monitoring Team to ask questions and participate in the meetings when
necessary. Interim Chief Pugel and Captain Edwards continue to remain after each meeting for
further discussion with the Monitoring Team.

The Monitoring Team finds that the UOFRB meetings are valuable and is generally pleased by
the manner in which they are conducted. In attending these meetings, the Monitoring Team
recognizes its role in large part is as an observer. The pertinent questions asked are to better
understand the logic in the decisions made by the Board and to help the Monitor evaluate the
process. In attending these meetings, the Monitor, of course, does not “bless” or “condemn”
any particular use of force as appropriate or excessive.

The UOFRB’s discussion of the procedure involved in completing the use of force packet is
quite thorough. The UOFRB generally confirms that each packet complies with the Settlement
Agreement, i.e. that, among other things, a supervisor who is not involved in the use of force
screens the incident, summarizes the type and circumstances surrounding the force used,
includes the involved officers’ statements and available video and photos, that a lieutenant
and a captain have also reviewed and signed off on the packet and use of force, and that all
the pertinent boxes are checked and relevant sections are completed on the use of force
form. The UOFRB does not hesitate to send back the packets to the precincts to ensure that
all the information is accurate and complete.

Increasingly, the UOFRB meetings generate discussion among its members as to the
substantive merits or problems associated with a particular use of force or with officers’
decision-making that led up to a use of force. One officer might question whether the force
used was actually necessary or was the best option to be employed in a particular incident.
Another officer might then disagree, causing a debate to ensue. But members do not
frequently engage in these types of discussions. Indeed, the Monitoring Team encourages the
UOFRB to engage in thoughtful discussion of each use of force discussed at the meetings.

For each use of force reviewed, members should ask whether, in practical terms, the incident
could have been handled better and, if so, whether the Department can do anything to better
equip or prepare their officers for future encounters. Furthermore, this inquiry should not be
limited to the use of force itself, but to officers’ actions that led up to the use of force. The
UOFRB does address such issues, but not always consistently or at the appropriate level of
rigor. Both the SPD and the public have a shared interest in reducing the number of police
encounters where officers unnecessarily place themselves in situations that require officers to
use force.

                                                                                               8
         Case 2:12-cv-01282-JLR Document 71 Filed 04/26/13 Page 12 of 24




One manner to accomplish this is through watching relevant video. While the descriptions of
the force in question in the use of force packets are usually quite detailed, in-car and other
video that show the actual force are sometimes available. UOFRB members can—and are
supposed to—watch the available video prior to the meetings. At one meeting, for example,
SPD did show video of a takedown of a fleeing suspect and his arrest. But this was video taken
by and obtained from an outside source. At the Monitoring Team’s request, SPD has begun to
exhibit in-car videos at the meetings in an effort to promote additional substantive discussion
and training opportunities. This has the added benefit of ensuring the presenter has
adequately reviewed the videos and can efficiently present them to his colleagues on the
Board.

Representatives of the Training section could also be more engaged in the discussion of each
use of force incident under discussion. For example, the Training Representative could be
asked to state in each instance whether the officer’s conduct—both the use of force and
conduct leading up to it—appears consistent with best practice and training and if not, outline
potential alternative ways, if any, to handle each incident. In addition, the representative
could be asked to briefly describe any existing or planned scenario-based training that
addresses incidents similar to the one under review. Other Board members would benefit
from this information and analysis, and Training would benefit from the ensuing discussion
among Board members who are aware of the practical limitations imposed by real-life
policing.

The recent addition of a CIT representative to the force reviews is a welcome improvement. It
is not uncommon for a use of force incident to arise in circumstances where officers learned
at an early point, such as through the initial radio broadcast, that they are going to encounter
someone who may be emotionally disturbed. (The benefits of expanding the CIT program
department-wide are discussed more fully below.)

For each such incident, similar questions should be asked: Were any CIT-trained officers
deployed to the incident? If not, was there at least the effort to do so? What efforts, if any,
did officers take to de-escalate the situation? What options appeared available? Was the
approach exemplary, warranting not only praise for those involved, but also incorporation
into scenario-based training? Have the involved officers had the benefit of CIT or verbal skills
training that would better equip them in the future? Is refresher training warranted? It is our
hope and expectation that by including CIT in the review process, this sort of evaluation will
become the rule, and not the exception.2



2
  In increasing its emphasis on de-escalation when dealing with individuals in crisis, the SPD also should be mindful of
how officers refer to such individuals. Disrespectful language may reflect or foster an underlying lack of respect for
persons in crisis. It remains troubling, therefore, to see force packets in which officer reports or dispatcher calls refer to
individuals as “mentals.” The reference to “mentals” need not be malicious to be inappropriate. The term has become
so routine that it is embedded in the Department’s reporting protocols.
                                                                                                                            9
        Case 2:12-cv-01282-JLR Document 71 Filed 04/26/13 Page 13 of 24




Interim Chief Pugel has demonstrated a commendable willingness to move quickly and
flexibly, when necessary, to improve procedures. At one recent Board meeting, a packet
came up for review where an officer encountered a suspect who was assertedly resisting
being handcuffed. In an effort to control the suspect, the officer took the suspect to the
ground, apparently causing the suspect to lose consciousness. The Seattle Fire Department
was called to the scene and cleared the suspect. But when the Monitoring Team member in
attendance questioned the use of force, interim Chief Pugel noted that Paragraph 112 of the
Settlement Agreement requires a Force Investigation Team (FIT) roll out in all instances in
which force results in a loss of consciousness. Assistant Chief Sanford then sent a Provisional
Directive to all precincts requiring a FIT roll out pursuant to Settlement Agreement
requirements, even though the new FIT roll out policies have not yet been finalized and
approved. For this, we commend Jim Pugel and Mike Sanford.

Set forth below are data provided by the SPD reflecting the actions taken to date by the
Board. Notably, in the UOFRB meetings attended by the Monitor Team, not a single instance
where force was used has been found to be out of SPD’s current (i.e., pre-Settlement
Agreement) policy.

                          UOF Packets reviewed   Force found in        Force found out of       Packets held for further
                                                 policy                policy by the U0F        information to be provided
                   Date                                                Review Board
               1/8/2013                     10                     3                        0                            7
              1/15/2013                      8                     3                        0                            5
              1/22/2013                     15                    11                        0                            4
              1/29/2013                     13                     8                        0                            5
               2/5/2013                     18                    11                        0                            7
              2/12/2013                     14                     8                        0                            6
              2/19/2013                      7                     2                        0                            5
              2/26/2013                      7                     6                        0                            1
               3/5/2013                      5                     5                        0                          N/A
              3/12/2013                     14                    13                        0                            1
              3/19/2013                      7                     5                        0                            2
              3/26/2013                      3                     3                        0                            0
Grand Total                                121                    78                        0                            43


Again, the Monitor does not make findings here whether a given use of force is or is not in
policy. Accordingly, the Monitor expresses no opinion whether any of the force that has come
before the Board should have been held to be out of policy. It may be that the uses of force
policies in effect at the time of the incidents were such that a finding of “in policy” was
compelled. It may yet be awhile before new use of force policies are adequate to meet
constitutional standards and best practice. If that is the case, it would be very useful if the
Board was to have a fuller discussion of the use of force and its implications.

We suggest that the Board formally discuss and memorialize answers to the following
questions:


                                                                                                                             10
       Case 2:12-cv-01282-JLR Document 71 Filed 04/26/13 Page 14 of 24




       1.      If the Board was compelled to find a given use of force in policy because the
               existing policies were inadequate, what should the revised policy be?
       2.      Were there less injurious alternatives to the given use of force that would have
               permitted the SPD officers to gain control of the suspect without compromise
               of reasonable officer safety?
       3.      Prior to the use of force, would different tactics, strategy, training, or policies
               have increased the likelihood that less injurious force could have been
               employed? Were there less than lethal tools available to the officers in fact
               that could have been used?
       4.      Is there anything about the given officer’s use of force history or habitual type
               of force used that suggests a pattern or practice of unnecessary or
               disproportionate force or a lack of physical or verbal skills? If so, what should
               be done about it?
       5.      As the particular use of force incident went up the chain of command for
               review, did each rank hold the rank below it accountable? In particular, do
               sergeants thoroughly review the packet and acquit themselves of the
               responsibility to strictly manage the risk of excessive, unnecessary, and
               disproportionate force by officers under their control? If not, is remedial action
               warranted? Do certain captains or lieutenants invariably find that the force
               used was in policy? Should they be counseled or subject to remedial action?
               Does a failure by the chain of command to identify glaring deficiencies or
               inconsistencies in the force packets portend broader problems? Are the
               standards applied uniformly throughout all precincts?

Finally, and perhaps most importantly, the Monitor will be looking to see if there is a process
in place to ensure that the changes suggested (either to policy, training, tactics, equipment,
etc.) by the Board are being implemented down the road in practice. This “loop back” is
essential to institutionalize the Board’s self-correcting function, which should be at the heart
of the Board’s mission.

The Monitoring Team will continue to attend and participate in Use of Force Review Board
meetings. The Team will continue to follow carefully the Board’s decisions on use of force.

The Monitoring Team has also attended and participated in the proceedings of the Firearms
Review Board (FRB). They fail to reach the higher standards of the Use of Force Review Board.
On two occasions, the presiding SPD executive chilled open and free discussion of the merits
by prematurely announcing their own views on them. There have been serious issues
surrounding the Monitoring Team’s ability to participate. There has been some activity that,
at minimum, raises the potential or appearance of skewing testimony by those seeking to
protect an officer. Those issues are and will continue to be the subject of current discussion.
The investigation and adjudication of officer-involved shootings must be fair and transparent,
and reform of the current process should be high on the agenda, including consultation with
the CPC. As an initial matter, we are concerned that the scope of discussion at the
                                                                                               11
       Case 2:12-cv-01282-JLR Document 71 Filed 04/26/13 Page 15 of 24




FRB is too narrow and considers only whether a given shooting was in policy at the moment
the trigger was pulled. It is necessary to look beyond that to consider the tactics, strategy, and
performance of the involved officers from the time they were dispatched or initiated activity
and the time the shooting took place. The SA makes provision for parallel criminal and
administrative investigations of force. It may be wise to begin doing so for shootings and
other serious uses of force. There are other best practices that need to be considered:

              following a brief public safety statement, immediately sequester the shooter
               and the witness officers;
              separately transport the officers back to the precinct without permitting a
               discussion of the incident by the shooter and the other officers;
              prohibit officers sent to provide moral support to the shooter from discussing
               the shooting itself or how it came about;
              speedily provide a union representative or a lawyer for SPD officers so
               requesting;
              fully record on videotape or its equivalent the compelled interview of the
               involved officers by FIT or Internal Affairs, including the shooter, prior to the
               officers being relieved of duty; and
              make sure that compelled statements and their fruit do not cross an airtight
               barrier between the administrative and criminal investigations.

Crisis Intervention

The following section corresponds to paragraphs 130-137 of the Settlement Agreement and
discusses SPD’s progress in coming into compliance with this portion of the Settlement
Agreement.

Many law enforcement agencies in the United States need to change their approach to
incidents involving persons who are mentally impaired or emotionally disturbed, under the
influence of drugs or excessive amounts of alcohol, or in behavioral or emotional crisis. Law
enforcement must avoid tactics that exacerbate the volatility of persons in an overly excited
state, driving them to even higher levels of agitation.

The SPD has recognized that its officers require more training in tactics and strategy to resolve
these encounters without unnecessary force or without compromising the safety of officers,
bystanders, or suspects. Use of force policies must be calibrated to eliminate or minimize the
risk of unnecessary or disproportional force.

The SPD has also taken the laudatory step of creating a four-person Crisis Intervention Team
(CIT) and is in the process of giving some SPD patrol officers 40 hours of basic instruction on
recognizing individuals who are in emotional or behavioral crises and learning how best to
respond to them. As of the end of February 2013, the Monitor is informed that 41 percent of
patrol officers (272 of 671 patrol officers) had received the 40 hours of instruction at some
                                                                                                   12
           Case 2:12-cv-01282-JLR Document 71 Filed 04/26/13 Page 16 of 24




point in their career. Of the entire SPD, 32 percent (404 of 1261 current sworn personnel)
have received that training at some point in their career.

According to SPD, there are currently adequate numbers of CIT trained officers so that at least
one such officer is on duty in each precinct on every shift. The following table, based upon
data provided by the SPD, sets forth, by precinct and by watches, the numbers and
percentages of officers who have received CIT training:

Precinct                Total Officers           Total CIT-trained         Percentage

West                                       171                       82    48 percent
North                                      185                       66    36 percent
South                                      115                       42    37 percent
East                                       113                       50    44 percent
Southwest                                   87                       32    37 percent
All                                        671                       272   41 percent


Watch                   Total Officers           Total CIT-trained         Percentage

1st                                        151                       60    40 percent

2nd                                        284                       120   42 percent
3rd                                        236                       92    39 percent
All                                        671                       272   41 percent


The lowest number of CIT trained officers on any shift is 39 percent and in any precinct, 36
percent. The high percentage at West is appropriate given the number of social-service and
mental-health care facilities located within its boundaries. Taking the SPD at its word, we
acknowledge and commend the progress toward full compliance in CIT coverage as required
by a portion of ¶ 130 of the SA (“SPD will continue to provide Crisis Intervention training as
needed to ensure that CI trained officers are available on all shifts to respond to incidents or
calls involving individuals known or suspected to have a mental illness, substance abuse, or a
behavioral crisis.…”). We suggest that SPD conduct additional analysis to combine the watch
and precinct data to calculate how many officers are CIT-trained for each watch at each
precinct.

We note, however, that the training includes any sworn officer who has received training at
any point in their career. As the training began in 1998, some officers clearly will need in-
service training courses to be “CI Trained” under the Settlement Agreement and a companion
Memorandum of Understanding (MOU). Moreover, those documents also require all officers
to receive basic training in CIT issues. SPD states that it is developing curriculum for 18 hour
Crisis Intervention Awareness and De-escalation training that will be given to all SPD officers.
The curriculum is due to the Monitor in June 2013. Finally, much of the training (and policies
and data collection) will be developed in conjunction with the Crisis Intervention Committee
(CIC), an inter-agency group that the City is required to create. Movement toward creation of
the CIC has begun.
                                                                                               13
       Case 2:12-cv-01282-JLR Document 71 Filed 04/26/13 Page 17 of 24




In January and February, eight officers received the 40 hours of CIT training. This is a
relatively small number of officers, and, at that pace, it will take a long while to train all patrol
officers. In 2013, SPD intends to train 50 officers with the 40-hour CIT course. SPD’s current
standard is to have one in three patrol officers fully CIT-trained in every precinct on every
shift, 24/7, which provides adequate coverage. There is every advantage in having a highly
trained volunteer group of dedicated CIT officers. It may be that one in three patrol officers is
adequate with the balance receive significant exposure to CIT in the 18 hour course without a
full 40 hours of training. The Monitor will continue to follow closely how the SPD fares with
CIT.

In addition to trained patrol officers, the SPD also has a four-person mobile response team of
four sergeants and a dedicated mental health professional. The team will respond to the
scene if it is out in the city or is requested by an officer on the scene. The great majority of
the time, however, the mobile team will not be able to respond quickly enough to help
resolve the incident. It will then attempt to find out at a later time what happened to the
suspect and if he or she requires assistance. If so, the mobile team will add the suspect to the
caseload of persons it manages.

The Monitor would recommend that SPD, in conjunction with the CIC, examine the costs
and benefits of giving the mobile team the ability to respond 24/7 in each precinct and
during every shift. This may require the addition of a substantial number of officers. The
mobile team members have extensive daily experience dealing with persons who are
mentally ill or are otherwise in a heightened emotional or behavioral state. They can bring
to bear greater expertise than a CIT-trained patrol officer who does not have on a daily
basis the same opportunity to sharpen his or her skills. The presence of a mental health
professional while the incident is unfolding further reduces the risk that the incident will go
awry.

With regard to a protocol for CIT, among the many other policies required by the
Agreements and to be created in conjunction with the CIC, we recommend that the SPD
consider a protocol resembling the one used by the Denver Police Department and set forth
below (with our editing and additions):

Requesting a CIT officer: Whenever an officer learns, through his or her observations or
otherwise, that a person with whom the officer is dealing may be a mentally ill,
developmentally disabled, or emotionally disturbed individual, or under the influence of
drugs, the officer will, if time and circumstances reasonably permit and dictate, contact
dispatch and request that a CIT officer respond to the scene. If time and circumstances
reasonably permit, officers will use distance, time, verbal tactics, or other tactics, to de-
escalate the situation when dealing with such persons. When a CIT officer arrives on the
scene, he or she should be the primary officer responsible for coordinating negotiations with
such individuals unless determined otherwise by the CIT officer or a superior officer. Based
                                                                                                   14
       Case 2:12-cv-01282-JLR Document 71 Filed 04/26/13 Page 18 of 24




upon Denver Police Department Operations Manual (2011) §105.01.

In summary, we largely concur with SPD when they state that:

“Seattle Police should maintain a minimum CIT deployment rate of 33% on all watches and in
all precincts. It should retain an analyst to review deployment quarterly. Patrol attrition
through transfers, retirements and other personnel actions should inform officer selection
for attendance at the 40-hour CIT course.” (Emphasis in original)

For the time being, the Monitoring Team is reserving judgment on whether 33 percent is the
optimal minimum. Over the next six months, the Monitoring Team will be reviewing the CIT
training curricula.

Accountability at the Precinct Level

The following section corresponds to paragraphs 153-163 of the Settlement Agreement and
discusses SPD’s progress in coming into compliance with this portion of the Settlement
Agreement.

The Monitoring Team has visited the five precincts of the SPD and has done so more than
once at the South, West, and East precincts. We have attended roll calls at North, South,
West, and East and have done ride-alongs at all of the stations. We have met the five
current precinct captains and with Operations Lieutenants at each station. We have
reviewed documentation regarding complaints and activities at the precincts in the area of
use of force and discriminatory police practices.

At the current time, there appears to be little to no active management of the risk of
unconstitutional police misconduct at the precinct level. The sergeants, acting sergeants,
lieutenants, and captains do not have regular and timely data about officer performance in
this risk area. In the normal course, the results of citizen and other complaints or litigation
are not known or tracked at the precinct level. The responsibility and accountability for such
oversight are shifted to headquarters, and the precinct personnel are cut out of the picture
almost entirely until the recent creation of the Use of Force Review Board. We do not mean
to imply that managers and supervisors at the precinct level have not been doing what has
been asked of them. Rather, we are suggesting that the SA will require more active
management. It is for this reason that the free flow of data on officer performance be
available to those who need it at the precinct level and up the chain of command.

The Monitor recommends that protocol be developed holding sergeants accountable for
the constitutional conduct of the rank-and-file officers they supervise. There should also be
protocols requiring lieutenants be accountable for the performance of sergeants in



                                                                                                15
       Case 2:12-cv-01282-JLR Document 71 Filed 04/26/13 Page 19 of 24




effectively mentoring and monitoring of rank-and-file officers in constitutional policing.
There need to be policies holding the captain accountable for how the whole precinct in
each shift and squad in his or her precinct avoids unconstitutional policing.

We look forward to the development of policy and protocols mandating thoughtful and
objective analysis at the precinct level of effective risk management. The most important
relationship in the chain of command is between an officer and his or her sergeant. The
sergeant is the mentor, the teacher, the grader, the model, and the elder who is quick to
praise good work and criticize shoddy performance. Young sergeants may find it difficult to
supervise the rank-and-file officers who were their peers yesterday and are their
subordinates today. Yet they must make that transition if they are to become real
supervisors.

Along the same lines, the use and of long-term acting sergeants must come to an end as
promptly as possible. Acting sergeants are police officers who function like a sergeant but
without the pay, the stripes on the sleeve, the training, and the accountability. While several
officers are understandably put in that acting function for a day or two or even a week or
two, others apparently serve in that capacity for months on end, even supervising their
former peer police officers on the same squad. We agree with the Police Guild and many
others that this practice should quickly come to an end and that enough “hard stripe”
sergeants need to be assigned so that the span of control of each sergeant is small enough to
provide constant mentoring and supervision to the rank-and-file.

The SPD informs the Monitor that it is formulating a draft plan to achieve these ends in a
relatively short time frame. The Monitor has been briefed as to the draft’s essential points
and possible timetable and believes that if enacted as proposed, the acting sergeant issue can
be resolved.

OPA Investigations

The following section corresponds to paragraphs 164-167 of the Settlement Agreement and
discusses SPD’s progress in coming into compliance with this portion of the Settlement
Agreement.

The Office of Professional Accountability (OPA) consists of Internal Affairs sergeants and a
Captain under the direction of a civilian Director. Kathryn Olson, who currently is the OPA
Director, has announced that she will not seek a third term, and soon a replacement for her
will be named. The CPC will ultimately need to grapple with the question whether OPA is in
need of structural or other change. Pursuant to the SA and the MOU, the Monitor can
render technical assistance and recommendations to the CPC if requested to do so. It is
premature to anticipate what that advice might be.



                                                                                               16
       Case 2:12-cv-01282-JLR Document 71 Filed 04/26/13 Page 20 of 24




In order to determine those eventual recommendations, and to gauge progress under the SA,
we test the fullness, completeness, objectivity, and fairness of internal SPD investigations,
whether it is of Homicide investigations of shootings, chain of command investigations of use
of force, or OPA investigations of complaints. We also review OPA investigations in
conjunction with ¶ 167 of the Consent Decree relating to the preparation of an OPA manual.
To that end, the Monitoring Team has reviewed approximately 50 completed and closed OPA
investigations. We have also observed meetings to classify complaints attended by the
Director and the OPA Auditor.

With a few exceptions, the investigations reviewed to date are professional, complete, and
thorough. The investigative conclusions are, for the most part, reasonably supported by the
evidence, regardless whether we might have seen things differently. The CPC, when the
time is ripe, will need to decide how best and who best to investigate police misconduct.

Stops and detentions and racially biased policing

We have had two rounds of interesting and productive discussions of proposed policies in this
area with the SPD. DOJ has made a number of recommendations for improvement, which the
SPD has responded to thoughtfully. The discussions with representatives of the SPD have
included the City, DOJ, and Monitoring Team. The City, DOJ, and SPD representatives have
put forth excellent suggested wording of policies such that the Monitor has concluded that
the City, the SPD, and DOJ are all working together in good faith toward a common goal in
these crucially important areas. This is an area in which the CPC will be heavily involved. It is
particularly important that there be CPC guidance with respect to necessary data collection in
order to test the constitutionality of stops and detentions and patterns of possible disparate
impact of policing strategies. These issues are far from easy. Effective policing strategies
must ultimately have the consent and support of all persons impacted. As the Monitor stated
recently in reference to the NYPD, “wholesale and largely unproductive dragnets may erode
community trust and goodwill at a much more rapid rate than they get criminals off street.”

Future activities
The Monitor’s priority for the balance of 2013 will be to review SPD’s policy and training
materials to assess compliance with the Agreements. Moreover, the Monitor will also be
measuring SPD’s compliance with other provisions of the Agreements.

Information Technology. The ability to manage the risk of police misconduct from the first
line supervisor to the Chief of Police depends as a practical matter on the breadth, depth,
and flexibility of integrated relational databases which permit detailed inquiries and analysis
of such risks.

The development of such a system, including its early warning components, is essential to full
and effective compliance with the SA. Progress toward the planning and construction of the
relational databases and their integration will be an ongoing topic of investigation and
                                                                                               17
      Case 2:12-cv-01282-JLR Document 71 Filed 04/26/13 Page 21 of 24




discussion by the Monitoring Team throughout its first year of operation. It is the Monitor’s
goal that conceptualizing and planning the system and selection of vendors be concluded
with reasonable speed and care with a proposed deadline of July 1, 2013. Construction of
the databases and their integration should begin shortly thereafter. It behooves the City and
the SPD to complete the automated system and have it up and running by midyear 2014.

OPA / Use of Force Investigations. On a consistent basis throughout the balance of 2013, the
Monitor will evaluate the completeness, thoroughness, objectivity, and fairness of complaint
and use of force investigations. It is the Monitor’s goal and intention to review most or all of
investigations of alleged misconduct with particular emphasis on officer-involved shootings
and other serious use of force, race-based policing, encounters with persons of color and
other minority communities, and encounters with persons in a heightened emotional state
due to mental illness, drugs, or alcohol. The Monitor plans also to look at a statistically
relevant sample of other inquiries and investigations arising from complaints and use of force
reports.

Stops and Detentions. The Monitor will audit and review stop and frisk activity, Terry stops,
other vehicle and pedestrian stops, and searches and arrests derived therefrom. The
Monitor will consider quantitative data, including population disparities and stop, search, and
arrest statistics. The Monitor will attempt to learn whether the policing priorities of the
community, with special emphasis on communities of persons of color and other minorities,
are governing the deployment of police resources, with special attention to the deployment
of suppression and containment tactics and strategies. The Monitor intends to learn about
the expansion of community policing.

Community Outreach / Community Police Commission. During the next six months, the
Monitor will be in close contact with the communities of color and other minority
communities, the civil rights and human rights constituencies, and advocacy organizations for
assessments of the progress of the SPD and complying with the letter and spirit of the
Settlement Agreement.

The monitor plans to work with the CPC, OPA, OPARB, the OPA Auditor, and the SPD
pursuant to the Memorandum of Understanding and the Settlement Agreement. It is
important that the CPC established standards to ensure that SPD investigations and reviews
are above reproach. The CPC may augment the powers and responsibilities of those entities
providing oversight to OPA, as well as recommending meaningful reform of OPA.

The Monitor’s plan is to work closely with the CPC as directed by the MOU and Settlement
Agreement so that the CPC may function as a powerful, independent policymaking body that
proceeds carefully based upon evidence and whose conclusions and recommendations have
great integrity and persuasive power.


                                                                                             18
       Case 2:12-cv-01282-JLR Document 71 Filed 04/26/13 Page 22 of 24




Supervision. DOJ found that the paucity of permanent sergeants with clear reporting
requirements constituted a serious impediment to the management of excessive force. The
Settlement Agreement provides that SPD must deploy an adequate number of qualified
supervisors to implement the Agreement. Given the heightened importance of effective
supervision and the promotion of constitutional policing by sergeants and mentors, the
Monitoring Team will continue to consider whether there are adequate numbers of full-time
sergeants to provide field supervision of police officers as well as to review use of force,
investigate complaints and inquiries, and perform other investigative functions.

CIT. Throughout 2013, the Monitoring Team will strongly encourage the development and
expansion of diversion programs and specialized drug, mental illness, and homeless courts.
The Monitor will also strongly support efforts by the SPD, the CPC, the business community,
and social service and advocacy organizations to deal with problems of homelessness,
addiction, and mental illness in Downtown Seattle and elsewhere within the city.

Throughout the next six months, the Monitoring Team will evaluate actions by members of
the SPD in patrol and specialized units and its crisis intervention teams to avoid unnecessary
confrontation and escalation and to rapidly de-escalate as circumstances permit.

Conclusion

As the interim Chief settles into the new job, there will be a window of opportunity for the
entire Department to make peace with the Settlement Agreement and move toward full and
effective compliance. Residual bitterness about DOJ and its findings must end as the focus
shifts to the future and the implementation of the Settlement Agreement, as the court has
ordered. The interim Chief has our full and enthusiastic support, as well as that of elected and
appointed officials. But that is not enough. The Seattle Police Department serves a diverse
population with divergent interests and law enforcement goals. The hardest task facing the
new Chief will be to overcome and surmount the cynicism and skepticism of those who in
good faith but with a heavy heart cannot yet believe that change is possible. We think it is
possible. We will continue to monitor and inform Judge Robart of the City’s progress.




                                                                                                 19
Case 2:12-cv-01282-JLR Document 71 Filed 04/26/13 Page 23 of 24



                      The Monitoring Team Staff:



                         Merrick Bobb - Monitor

                    Peter Ehrlichman - Deputy Monitor

                     Ronald Ward - Assistant Monitor

                    Pat Gannon - Senior Police Expert

                   Joseph Brann - Senior Police Expert

                    Nicholas Armstrong - Chief of Staff

                Christopher Moulton - Director of Research

                          Julio Thompson - Esq.

                    Marnie Carlin MacDiarmid - Esq.

                            Ian Warner - Esq.

                          Ellen Scrivner – Ph. D.

                   Melissa Tobin - Executive Assistant

                   Jeffrey Yamson - Executive Assistant
            Case 2:12-cv-01282-JLR Document 71 Filed 04/26/13 Page 24 of 24




 1

 2                                    CERTIFICATE OF SERVICE
 3          I certify that on the 26th day of April, 2013, I electronically filed this document with the
 4   Clerk of the Court using the CM/ECF system, which will send notification of such filing to the
 5
     following attorneys of record:
 6
            J. Michael Diaz                michael.diaz@usdoj.gov
 7          Jenny A. Durkan                jenny.a.durkan@usdoj.gov
            Jonathan Smith                 jonathan.smith2@usdoj.gov
 8          Kerry Jane Keefe               kerry.keefe@usdoj.gov
 9          Michael Johnson Songer         michael.songer@usdoj.gov
            Michelle Leung                 michelle.leung@usdoj.gov
10          Rebecca Shapiro Cohen          rebecca.cohen@usdoj.gov
            Thomas E. Perez                tom.perez@usdoj.gov
11          Timothy D. Mygatt              timothy.mygatt@usdoj.gov
            Jean M. Boler                  jean.boler@seattle.gov
12
            Peter Samuel Holmes            peter.holmes@seattle.gov
13          Brian G. Maxey                 brian.maxey@seattle.gov
            Sarah K. Morehead              sarah.morehead@seattle.gov
14          Gregory C. Narver              gregory.narver@seattle.gov

15

16         DATED this 26th day of April, 2013.

17
18
                                                 /s/ Carole Corona
19                                               Carole Corona
20

21

22

23

24

25


     THE SEATTLE POLICE MONITOR’S FIRST SEMIANNUAL REPORT                       DORSEY & WHITNEY LLP
                                                                                        COLUMBIA CENTER
     Case No. C12-1282JLR                                                         701 FIFTH AVENUE, SUITE 6100
                                                                                    SEATTLE, WA 98104-7043
                                                                                      PHONE: (206) 903-8800
                                                                                       FAX: (206) 903-8820
